Case
 Case2:24-cv-10354-WLH-SK
      2:23-cv-06688-FMO-JC Document
                            Document27-1
                                     25 Filed
                                         Filed02/13/24
                                               05/09/25 Page
                                                         Page11ofof22 Page
                                                                       PageIDID
                                  #:105
                                  #:255

  1   Candace Y. Martinez (SBN 346799)
  2   cymartinez@jonesday.com
      JONES DAY
  3   3161 Michelson Drive
      Suite 800
  4   Irvine, CA 92612.4408
      Telephone: 949.851.3939
  5   Facsimile: 949.553.7539

  6   Attorneys for Defendant
      EXPERIAN INFORMATION
  7   SOLUTIONS, INC.

  8                         UNITED STATES DISTRICT COURT
  9                        CENTRAL DISTRICT OF CALIFORNIA
 10
 11    ARTIS-RAY: CASH,                          Case No. 2:23-cv-06688 FMO (JCx)
 12                    Plaintiff,                Hon. Fernando M. Olguin
 13          v.                                  DEFENDANT EXPERIAN
                                                 INFORMATION SOLUTION INC.’S
 14   EXPERIAN INFORMATION                       NOTICE OF SETTLEMENT
      SOLUTIONS, INC.,
 15
                       Defendant.                Complaint filed: August 15, 2023
 16
                                                 First Amended Complaint filed:
 17                                              December 28, 2023
 18
 19         PLEASE TAKE NOTICE that Plaintiff Artis-Ray Cash (“Plaintiff”) and
 20   Defendant Experian Information Solutions, Inc. (“Experian”) (collectively the
 21   “Parties”) have reached an agreement on all material terms required to settle all of
 22   Plaintiff’s claims against Experian pending in this action.
 23         The Parties anticipate that the performance of the terms of the settlement
 24   agreement will be completed within forty-five (45) days of the date of this notice, at
 25   which time the Parties shall file a Stipulation for Dismissal with prejudice of the
 26   claims asserted against Experian.
 27
 28
                                    EXHIBIT A
                                       7                   EXPERIAN’S NOTICE OF SETTLEMENT
                                                                Case No. 2:23-cv-06688 FMO (JCx)
Case
 Case2:24-cv-10354-WLH-SK
      2:23-cv-06688-FMO-JC Document
                            Document27-1
                                     25 Filed
                                         Filed02/13/24
                                               05/09/25 Page
                                                         Page22ofof22 Page
                                                                       PageIDID
                                  #:106
                                  #:256


  1
  2     Dated: February 13, 2024               JONES DAY
  3
  4                                            By: /s/ Candace Y. Martinez
                                                 Candace Y. Martinez
  5
                                               Attorneys for Defendant
  6                                            EXPERIAN INFORMATION
                                               SOLUTIONS, INC.
  7
  8
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                   EXHIBIT -A2 -
                                      8               EXPERIAN’S NOTICE OF SETTLEMENT
                                                           Case No. 2:23-cv-06688 FMO (JCx)
